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                             MAZIE SLATER KATZ & FREEMAN, LLC
                                       103 Eisenhower Parkway, Suite 207, Roseland, NJ 07068
                                            Phone: (973) 228-9898 - Fax: (973) 228-0303
                                                       www.mazieslater.com

David A. Mazie*                                                                                    Karen G. Kelsen°
Adam M. Slater*°                                                                                   Cory J. Rothbort*°
Eric D. Katz*°                                                                                     Michael R. Griffith°
David M. Freeman                                                                                   Christopher J. Geddis
Beth G. Baldinger                                                                                  Samuel G. Wildman
Matthew R. Mendelsohn*°                                                                            Julia S. Slater°
David M. Estes                                                                                     Trevor D. Dickson
Adam M. Epstein°
                                                                                                   °Member of N.J. & N.Y. Bars
*Certified by the Supreme Court of
New Jersey as a Civil Trial Attorney


                                                           July 12, 2023

     VIA ECF
     Honorable Robert B. Kugler
     United States District Court
     Mitchell H. Cohen Building and
      U.S. Courthouse
     4th and Cooper Streets
     Camden, New Jersey 08101

                Re:        In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                           Case No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Kugler:

            Please accept this letter on behalf of the Plaintiffs’ co-lead counsel, to provide
     the Court with an update and to request a modification to the Plaintiffs’ leadership
     structure. Since the entry of CMO 6 in May 2019, and the Court’s recent
     modification order in March 2022, the circumstances of certain attorneys on the
     Plaintiffs’ Steering Committee (“PSC”) or their law firms have changed such that
     Plaintiffs’ co-lead counsel recommends the appointment of Madeline Pendley to the
     Plaintiffs’ Steering Committee.

            Daniel Nigh, court-appointed Plaintiffs’ co-lead counsel, was a shareholder at
     Levin Papantonio Rafferty in May 2019 when he was appointed. At the beginning
     of this year, Daniel Nigh amicably left Levin Papantonio Rafferty to start his own
     law firm with partners Marlene Goldenberg, Brett Vaughn and Ashleigh Raso.

           Madeline Pendley, of Levin Papantonio Rafferty, worked alongside Daniel
     Nigh at Levin Papantonio Rafferty and has continued to be actively involved with
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 the valsartan litigation. She has deposed or been involved with the depositions of
 defendant corporate witnesses and an expert witness. In addition, she has written
 multiple briefs and assisted with drafting various complaints. She has also been
 involved with taking and defending multiple depositions as part of the bellwether
 process. She and Levin Papantonio Rafferty have confirmed their commitment to
 the necessary substantial work and financial contributions of membership on the
 Plaintiffs’ Steering Committee, as requested by leadership going forward in the
 litigation.

       Should the Court be inclined to grant this request, a form of order is attached
 hereto. We are of course available to answer any questions the Court may have.

       Thank you for your courtesies and consideration.

                                                     Respectfully,


                                                     Adam M. Slater
